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                                   ** CIVIL MOTION MINUTES **

Date: 05/19/2017                                        Before the Honorable: T.S. ELLIS, III

Time: 10:56AM-11:40AM (00:44)                           Civil Case No.: 1:17-CV-00401-TSE-MSN

Official Court Reporter: Tonia Harris

Courtroom Deputy: Margaret Pham



JOHN DOE

v.

MARYMOUNT UNIVERSITY et al

Appearances of Counsel for:

( X ) Plaintiff: Adam R. Zurbriggen, Justin E. Dillon
( X ) Defendant: Jason A. Ross, Joshua Richards
( ) Other:

Re:       Defendant’s Motion [19] to Dismiss for Failure to State a Claim


Argued and:

( ) Granted              ( ) Denied            ( ) Granted in part/Denied in part

( ) Taken Under Advisement                     ( ) Continued to

( ) Report and Recommendation to Follow

         Defendant permitted to file matters under seal provisionally

         Defendant requests that Linda McMurdock be dismissed

( X ) Order to Follow
